UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
ROBERTO MATA,

                                 Plaintiff,                            22-cv-1461 (PKC)

                -against-                                           ORDER TO SHOW CAUSE


AVIANCA, INC.,

                                  Defendant.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                This Order incorporates the Court’s Order of May 4, 2023. Having received and

reviewed the “Affidavit in Response to Order of May 4, 2023” filed by Peter LoDuca and the

Affidavit of Steven A. Schwartz annexed thereto (ECF 32), the Court ORDERS as follows:

                1.       Let Mr. LoDuca also show cause at the hearing of June 8, 2023 why he

ought not be sanctioned pursuant to (1) Rule 11(b)(2) & (c), Fed. R. Civ. P., (2) 28 U.S.C. §

1927, and (3) the inherent power of the Court for the use of a false and fraudulent notarization in

his affidavit filed on April 25, 2023 (ECF 29).

                2.       Let the law firm of Levidow, Levidow & Oberman, P.C. (the “Levidow

Firm”), show cause at the hearing of June 8, 2023 why it not be sanctioned pursuant to (1) Rule

11(b)(2) & (c), Fed. R. Civ. P., (2) 28 U.S.C. § 1927, and (3) the inherent power of the Court for

the following: (A) the citation of non-existent cases to the Court in the Affirmation in Opposition

filed on March 1, 2023 (ECF 21); (B) the submission to the Court of copies of non-existent

judicial opinions annexed to the Affidavit filed on April 25, 2023; and (C) the use of a false and

fraudulent notarization in the affidavit filed on April 25, 2023.
                  3.       Let Steven Schwartz show cause at the hearing of June 8, 2023 why he

ought not be sanctioned pursuant to (1) Rule 11(b)(2) & (c), Fed. R. Civ. P., (2) 28 U.S.C. §

1927, and (3) the inherent power of the Court and referred to the Attorney Grievance Committee

of the Appellate Division, First Department, and/or the Committee on Grievances of this District

for aiding and causing (A) the citation of non-existent cases to the Court in the Affirmation in

Opposition filed on March 1, 2023; (B) the submission to the Court of copies of non-existent

judicial opinions annexed to the Affidavit filed on April 25, 2023; and (C) the use of a false and

fraudulent notarization in the affidavit filed on April 25, 2023. 1

                  4.       Mr. LoDuca is ordered to serve a copy of this Order to Show Cause upon

his employer, the law firm of Levidow, Levidow & Oberman, P.C., and upon Mr. Schwartz, who

Mr. LoDuca states he intends to call as a witness at the hearing of June 8, 2023.

                  5.       Mr. Schwartz and the Levidow Firm shall submit a written response to this

Order and Mr. LoDuca shall submit a supplemental written response to this Order by June 2,

2023. If Mr. LoDuca, Mr. Schwartz or the Levidow Firm wishes to call live witnesses at the

June 8, 2023 hearing, subject to cross-examination, they shall identify them in writing by June 2,

2023.

                  SO ORDERED.




Dated: New York, New York
       May 26, 2023

1
 It has been asserted that Mr. Schwartz is not admitted to practice in this District. (May 24, 2023 LoDuca Aff. ¶ 3.)
Local Civil Rule 1.5(b)(5) provides that the Committee on Grievances may impose discipline if, “[i]n connection
with activities in this Court, any attorney is found to have engaged in conduct violative of the New York State Rules
of Professional Conduct as adopted from time to time by the Appellate Divisions of the State of New York.”

                                                        -2-
